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                            United States Court of Appeals
                                      FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-1174                                                                  September Term, 2023
                                                                                   FERC-CP16-454-003
                                                                                   FERC-CP16-455-000
                                                                                   FERC-CP16-455-002
                                                                                   FERC-CP16-454-000
                                                                                   FERC-CP20-481-000
                                                             Filed On: May 17, 2024 [2055032]
City of Port Isabel, et al.,

                    Petitioners

          v.

Federal Energy Regulatory Commission,

                    Respondent

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Rio Bravo Pipeline Company, LLC and Rio
Grande LNG, LLC,
                     Intervenors
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Consolidated with 23-1221

          BEFORE:            Chief Judge Srinivasan, and Circuit Judges Childs and Garcia


                                 COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Friday, May 17, 2024 at 9:31 a.m. The
cause was heard as case No. 2 of 2 and argued before the Court by:

        Nathan Matthews, counsel for Petitioners.
        Robert M. Kennedy (FERC), counsel for Respondent.
        Varu Chilakamarri, counsel for Intervenor Rio Grande LNG.
        Michael R. Pincus, counsel for Intervenor Texas LNG Brownsville.


                                                                    FOR THE COURT:
                                                                    Mark J. Langer, Clerk

                                                            BY:     /s/
                                                                    Anne A. Rothenberger
                                                                    Deputy Clerk
